     Case 2:22-ap-01125-DS      Doc 331 Filed 07/15/25 Entered 07/15/25 17:22:41                Desc
                                 Main Document    Page 1 of 11


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 9
10                              UNITED STATES BANKRUPTCY COURT
11                   CENTRAL DISTRICT OF CALIFORNIA – LOS ANGELES DIVISION
12
     In re:                                             Bk. No. 2:21-bk-18205-DS
13
     CRESTLLOYD, LLC,                                   Chapter 11
14
           Debtor,                                      Adv. No. 2:22-ap-01125-DS
15   _______________________________________
                                                        NOTICE OF MOTION AND MOTION OF
16   INFERNO INVESTMENT, INC., a Quebec                 HANKEY CAPITAL, LLC TO COMPEL
     corporation,                                       RESPONSES TO SUBPOENA TO PRODUCE
17                                                      DOCUMENTS TO YVONNE NIAMI AND
              Plaintiff,                                REQUEST FOR SANCTIONS;
18                                                      MEMORANDUM OF POINTS AND
     v.                                                 AUTHORITIES IN SUPPORT
19
     CRESTLLOYD, LLC, a California limited liability [Filed concurrently with Declaration of Howard J.
20   company; HANKEY CAPITAL, LLC, a California Steinberg]
     limited liability company; YOGI SECURITIES
21   HOLDINGS, LLC, a Nevada limited liability       DATE:      August 19, 2025
     company; and HILLDUN CORPORATION, a New TIME:              1:00 p.m.
22   York corporation,                               CTRM: 1639
23            Defendants.                               JUDGE:       Hon. Deborah J. Saltzman
24   _____________________________________              Action Filed: June 9, 2022
25   AND RELATED CROSS-ACTIONS.
26
27
28
     _____________________________________________________________________________________________________
         HANKEY’S MOTION TO COMPEL RESPONSES TO SUBPOENA TO PRODUCE DOCUMENTS TO YVONNE
                                     NIAMI AND REQUEST FOR SANCTIONS
     ACTIVE 712918488v1
     Case 2:22-ap-01125-DS       Doc 331 Filed 07/15/25 Entered 07/15/25 17:22:41               Desc
                                  Main Document    Page 2 of 11


 1 TO THE COURT, ALL PARTIES, AND THEIR COUNSEL OF RECORD:

 2         PLEASE TAKE NOTICE THAT on August 19, 2025 at 1:00 p.m. in Courtroom 1639 of the
 3 above-captioned court located at 255 East Temple Street, Los Angeles, California 90012, Defendant and

 4 Counter/cross-claimant Hankey Capital, LLC (“Hankey”) will move, and hereby does move, for an order

 5 under Federal Rules of Civil Procedure 26, 34, 37, and 45, as made applicable by Federal Rules of

 6 Bankruptcy Procedure 7026, 7034, and 7037, and 9016 compelling Yvonne Niami (“Yvonne”) to respond

 7 to Hankey’s subpoena to produce documents (“Subpoena”) and produce documents without objection, as

 8 well as to pay Hankey’s attorneys’ fees and costs associated with the bringing of this Motion to obtain

 9 compliance with Yvonne’s discovery obligations. Due to Yvonne’s noncooperation, Hankey was unable

10 to prepare the joint stipulation required by Local Bankruptcy Rule 7026-1(c).

11         This Motion is based on this Notice of Motion, the Memorandum of Points and Authorities below,
12 the concurrently filed declaration of Howard J. Steinberg, all pleadings and files in this adversary

13 proceeding, and upon such other and further oral or documentary evidence as may be presented to the

14 Court at or prior to the hearing on the Motion.

15         PLEASE TAKE FURTHER NOTICE THAT pursuant to Local Bankruptcy Rule 9013-1(f),
16 anyone who wishes to oppose this Motion must do so in a writing that complies with the rules of practice

17 and procedure before the United States Bankruptcy Court for the Central District of California, and must

18 ensure that such opposition is filed with the Court no later than fourteen (14) days before the hearing on

19 the Motion, or August 5, 2025. Failure to timely file and serve a written opposition may result in the

20 Motion being resolved without oral argument and the striking of an untimely written opposition. The
21 opposition must be served on Hankey’s counsel at the following address:

22                                       Howard J. Steinberg, Esq.
                                         Greenberg Traurig, LLP
23                                       1840 Century Park East, Suite 1900
                                         Los Angeles, CA 90067
24
     DATED: July 15, 2025                         GREENBERG TRAURIG, LLP
25

26
                                             By    /s/ Howard J. Steinberg
27                                                Howard J. Steinberg
                                                  Attorneys for Defendant and Cross-Claimant
28                                                Hankey Capital, LLC
                                               2
       HANKEY’S MOTION TO COMPEL RESPONSES TO SUBPOENA TO PRODUCE DOCUMENTS TO YVONNE
                               NIAMI AND REQUEST FOR SANCTIONS
     Case 2:22-ap-01125-DS         Doc 331 Filed 07/15/25 Entered 07/15/25 17:22:41                 Desc
                                    Main Document    Page 3 of 11


 1       I.      INTRODUCTION
 2            This Motion is the result of a central figure in this litigation, Yvonne Niami (“Yvonne”)1,
 3 ignoring and not producing a single document in response a subpoena to produce documents

 4 (“Subpoena”) served by Hankey Capital, LLC (“Hankey”), each of which was properly tailored to

 5 obtain evidence crucial to Hankey’s preparation of its claims and defenses in this adversary proceeding.

 6 Yvonne and her husband Nile Niami (“Nile,” and collectively with Yvonne, the “Niamis”)2, were at all

 7 relevant times in control of Debtor Crestlloyd, LLC (“Debtor” or “Crestlloyd”). Hankey loaned

 8 Crestlloyd the principal sum of $106,000,000, secured by a Construction Deed of Trust on real

 9 property at 944 Airole Way in Los Angeles, California (the “Property”). Crestlloyd itself has

10 produced under 400 documents to date, making the discovery to one of its principals, Yvonne, all the

11 more important. Indeed, there are many documents one would have expected Crestlloyd to have

12 produced; that they have not done so suggests those documents may instead be in Yvonne’s possession.

13 Yvonne must therefore be compelled to produce all responsive documents in her possession, custody, and

14 control.

15            Hankey is the senior lienholder on the Property. Yet two of Debtor’s other creditors, Yogi
16 Securities Holdings, LLC (“Yogi”) and Inferno Investment, Inc. (“Inferno”), have each claimed that

17 Hankey’s debt should be subordinated to their own liens. While Hankey maintains there is no legal or

18 factual basis for Hankey’s lien to be subordinated, Hankey has also asserted affirmative defenses and

19 counter- and cross-claims that raise numerous factual and equitable issues related to the relationships

20 between and among Crestlloyd, its affiliates, and their principals, the Niamis; Yogi, its affiliates, and their
21 principal, Joseph Englanoff; and Inferno, its affiliates, and their principal, Julien Remillard. Among other

22 things, Hankey alleges that Inferno agreed to subordinate its debt to Hankey and is estopped to claim

23 otherwise, as well as that Inferno’s debt should be wholly recharacterized because it is in fact a disguised

24 equity contribution—not debt. (Dkt. 297.) As to Yogi, Hankey alleges that Yogi engaged in a series of

25

26   1
     Yvonne is a party to this adversary proceeding and is currently in default.
27 To avoid confusion due to the fact that both Nile and Yvonne have the same surname, Hankey refers to
     2

   the Niamis by their first names throughout this document. This usage is intended solely for the sake of
28 clarity and is not intended to convey any informality or disrespect.

                                                 3
         HANKEY’S MOTION TO COMPEL RESPONSES TO SUBPOENA TO PRODUCE DOCUMENTS TO YVONNE
                                 NIAMI AND REQUEST FOR SANCTIONS
     Case 2:22-ap-01125-DS        Doc 331 Filed 07/15/25 Entered 07/15/25 17:22:41                 Desc
                                   Main Document    Page 4 of 11


 1 inequitable transactions, failing to apply sums it received to reduce Crestlloyd’s debt to it despite being

 2 contractually obligated to do so, which both necessitates that Yogi’s lien be equitably subordinated to

 3 Hankey’s and establishes numerous equitable defenses against Yogi’s claim of lien priority. (Dkt. 296.)

 4            Yvonne is intimately involved in these questionable transactions and will necessarily be in
 5 possession of documents and information crucial to Hankey’s ability to establish the inequitable conduct

 6 of both Yogi and Inferno, including the truth of the financial relationship between Crestlloyd and Inferno,

 7 as well as shedding light on what funds Yogi received that should have been—but were not—applied to

 8 reduce Crestlloyd’s indebtedness to Yogi and why. These documents would not merely help Hankey’s

 9 claims and defenses—they are essential. Without them, there is a crater in Hankey’s ability to prepare its

10 case. Yvonne has no legitimate basis on which to refuse to produce documents and nor has she asserted

11 one. Accordingly, Yvonne has waived all objections to each document request in the Subpoena and she

12 should be ordered to provide responses and produce documents immediately without objection, as well as

13 to pay Hankey’s attorneys’ fees and costs associated with the bringing of this Motion.

14      II.      DISCOVERY AT ISSUE
15            On April 4, 2025, Hankey personally served Yvonne with a subpoena to produce documents
16 (“Subpoena”), consisting of 132 document requests (“RFPs”). (Declaration of Howard J. Steinberg

17 [“Steinberg Decl.”] Ex. A.) Each RFP was properly tailored to seek information directly relevant to the

18 facts and circumstances in dispute and to assist Hankey in preparing its claims and defenses. Yvonne’s

19 responses were due to be served no later than April 25, 2025. See id.; Fed. R. Civ. P. 6, 45.

20            The April 25, 2025, response date came and went with no response from Yvonne. On May 7, 2025,
21 Hankey’s counsel sent a meet-and-confer letter to Yvonne informing her of the failure to timely serve

22 responses. (Steinberg Decl. Ex. B.) After receiving no response, Hankey sent a second letter to Yvonne

23 on May 21, 2025, in a final good-faith effort to resolve the dispute without court intervention. (Id. Ex. C.)

24 As of the time of this filing, Hankey has still received no response from Yvonne. (Id. ¶ 6.) Yvonne’s

25 noncooperation has made it impossible for Hankey to prepare the joint stipulation required by Local

26 Bankruptcy Rule 7026-1(c). (Id.)

27 //

28 //

                                                4
        HANKEY’S MOTION TO COMPEL RESPONSES TO SUBPOENA TO PRODUCE DOCUMENTS TO YVONNE
                                NIAMI AND REQUEST FOR SANCTIONS
     Case 2:22-ap-01125-DS          Doc 331 Filed 07/15/25 Entered 07/15/25 17:22:41                   Desc
                                     Main Document    Page 5 of 11


 1      III.      LEGAL DISCUSSION
 2                A. Yvonne Waived All Objections to the RFPs by Failing to Timely Respond, and
 3                    Responses to the RFPs Must Be Provided and Documents Must Be Produced
 4             Yvonne did not timely serve responses to the RFPs. Thus, all objections to the RFPs are waived.
 5 See Fed. R. Civ. P. 6, 45; Richmark Corp v. Timber Falling Consultants, 959 F.2d 1468, 1473 (9th Cir.

 6 1992) (“[F]ailure to object to discovery requests within the time required constitutes a waiver of any

 7 objection.”). As detailed above, Yvonne was the principal of Debtor and her conduct and relationships to

 8 other Debtor-affiliates entities and with Inferno, Yogi, and their affiliates and principals, is at the center

 9 of many disputes that must be resolved in this litigation. Thus, documents in her possession, custody, or

10 control are crucial to this adversary proceeding. “[D]iscovery is ordinarily ‘accorded a broad and liberal

11 treatment.’” Shoen v. Shoen, 5 F.3d 1289, 1292 (9th Cir. 1993) (quoting Hickman v. Taylor, 329 U.S. 495,

12 507 (1947)). In the Ninth Circuit, “wide access to relevant facts serves the integrity and fairness of the

13 judicial process by promoting the search for the truth.” Id. Parties are entitled to broad discovery,

14 “regarding any nonprivileged matter that is relevant to any party’s claim or defense and proportional needs

15 of the case.” Fed. R. Civ. P. 26(b)(1); see also Republic of Ecuador v. Mackay, 742 F.3d 860, 866 (9th

16 Cir. 2014) (“[T]he scope of permissible discovery under Rule 26 is ‘broad.’”) (citation omitted). Indeed,

17 “[i]nformation … need not be admissible in evidence to be discoverable.” Fed. R. Civ. P. 26(b)(1). Even

18 though “[t]he party seeking to compel discovery has the burden of establishing that the information is

19 relevant,” “[o]nce that showing is made, or if relevance is plain from the face of the request, the party

20 resisting discovery then has the burden of showing that discovery should be allowed and of clarifying,
21 explaining,       and   supporting    its   objections.”   Moore    v.   Superway      Logistics,    Inc.,   No.
22 117CV01480DADBAM, 2019 WL 2285392, at *2 (E.D. Cal. May 29, 2019). Here, the RFPs are relevant,

23 and Yvonne cannot meet her burden to justify her outright refusal to respond to the Subpoena.

24                B. The RFPs All Seek Relevant Documents That Should Be Produced.
25             Substantial issues concerning the characterization of the alleged debt and application of monies
26 received from Crestlloyd occurred among and between Crestlloyd, Yogi, Inferno, and their respective

27 principals and affiliates. Hankey is entitled to explore the full extent of those issues, as well as other facts

28

                                                5
        HANKEY’S MOTION TO COMPEL RESPONSES TO SUBPOENA TO PRODUCE DOCUMENTS TO YVONNE
                                NIAMI AND REQUEST FOR SANCTIONS
     Case 2:22-ap-01125-DS        Doc 331 Filed 07/15/25 Entered 07/15/25 17:22:41                 Desc
                                   Main Document    Page 6 of 11


 1 that bear on its ability to defend its lien priority and to trace the funds from its and others’ loans to

 2 Crestlloyd that were intended for the Property, including:

 3             •   Yogi’s cross-collateralizing and cross-defaulting loans to Debtor and non-Debtor entities
 4                 affiliated with Crestlloyd or Yvonne.
 5             •   Yogi’s failure to apply proceeds from the sale of properties that secured its $30 million
 6                 note to reduce that obligation.
 7             •   Yogi’s application of the proceeds from the sale of another Debtor-owned property to pay
 8                 down obligations of non-Debtor entities.
 9             •   Yogi and/or its principals (including Joseph Englanoff) purchasing Debtor-owned property
10                 through an entity called Trousdale and selling the property in less than one year for a 22.6%
11                 profit of $8,675,000.
12             •   Yogi’s control over, among other things, Debtor’s ability to sell, transfer, encumber, and
13                 alter the Property.
14             •   The nature of the relationship between Crestlloyd and Inferno, including the execution and
15                 interpretation of a Subordination Agreement and Memorandum of Understanding and their
16                 impact on lien priority.
17             •   The allegation that Hankey was required to but failed to ensure that disbursements under
18                 Hankey’s loan were used for construction of improvements to the Property
19             •   The allegations that Yogi and Inferno each lacked knowledge of and did not consent to
20                 Hankey’s modifications to its loans to Crestlloyd.
21          Hankey’s RFPs to Yvonne are specifically tailored to seek documents and communications
22 relating to the issues set forth in the parties’ pleadings and as detailed above. Such documents are crucial

23 for Hankey to adequately prepare its claims and defenses:

24             •   RFP No. 1 seeks documents and communications regarding Crestlloyd’s relationship with
25                 Trousdale, which is relevant to its purchase of and immediate profit on Debtor-owned
26                 property.
27             •   RFP Nos. 2-6 seek documents and communications about loans to Debtor or Yvonne from
28                 Yogi, Inferno, and Hankey.

                                               6
       HANKEY’S MOTION TO COMPEL RESPONSES TO SUBPOENA TO PRODUCE DOCUMENTS TO YVONNE
                               NIAMI AND REQUEST FOR SANCTIONS
     Case 2:22-ap-01125-DS        Doc 331 Filed 07/15/25 Entered 07/15/25 17:22:41               Desc
                                   Main Document    Page 7 of 11


 1            •   RFP Nos. 7-18, 25-28, 31-43, 125, and 130 seek documents and communications with
 2                Yogi, Inferno, and Hankey, including regarding agreements with Crestlloyd or Yvonne
 3                and regarding the use or disbursement of loan proceeds or capital contributions.
 4            •   RFP No. 19 seeks documents and communications relating to the priority of liens against
 5                the Property—the central issue in this adversary proceeding.
 6            •   RFP Nos. 20-24 seek documents and communications sufficient to show Yvonne’s
 7                ownership interests in entities other than Crestlloyd, and Yvonne or those entities’
 8                purchases and sales of real property, which is information Hankey needs to identify entities
 9                that may have wrongly come into receipt of loan proceeds intended for the Property.
10            •   RFP Nos. 29-30 seek documents and communications showing any loan or capital
11                contribution made by Yogi or Inferno to Yvonne, her husband Nile, or their entities, so that
12                Hankey can attempt to trace the funds that were spent by Crestlloyd, including whether
13                they were wrongly redirected to Yvonne, her husband Nile, or any other entities under their
14                control.
15            •   RFP Nos. 44-49 seek documents and communications regarding the payments and
16                disbursement of proceeds from the sale of all real property pledged as security for Yogi’s
17                $30 million note on which it seeks to recover in full here from the proceeds from sale of
18                the Property.
19            •   RFP Nos. 50-53 seek documents and communications relating to Yvonne, her husband
20                Nile, and any of their entities’ transfers of real or personal property to Joseph Englanoff
21                (Yogi’s principal), Englanoff’s relatives, or any entity Englanoff owns or controls. These
22                RFPs are relevant to discover any indirect payments from Debtor to Yogi, through their
23                principals.
24            •   RFP Nos. 54-59 seek agreements and amendments thereto between Crestlloyd, on the one
25                hand, and Yvonne, her husband Nile, or any of their entities, on the other hand.
26            •   RFP Nos. 60-65 seek communications with Yvonne, on the one hand, and Yogi’s and
27                Inferno’s principals and their relatives, on the other hand—information that is crucial to
28                understanding the relationship between the Niamis and Yogi and Inferno.

                                               7
       HANKEY’S MOTION TO COMPEL RESPONSES TO SUBPOENA TO PRODUCE DOCUMENTS TO YVONNE
                               NIAMI AND REQUEST FOR SANCTIONS
     Case 2:22-ap-01125-DS       Doc 331 Filed 07/15/25 Entered 07/15/25 17:22:41                    Desc
                                  Main Document    Page 8 of 11


 1             •   RFP No. 66 seeks documents and communications with Nigel Gibbs, the notary public
 2                 who notarized the Subordination Agreement. This RFP is relevant to discover information
 3                 about the validity of the Subordination Agreement and Inferno’s claim that a signature on
 4                 the Subordination Agreement was forged.
 5             •   RFP Nos. 67-124 seek documents and communications relating to allegations made in
 6                 Crestlloyd’s Cross-Complaint.
 7             •   RFP No. 126 seeks communications between Crestlloyd, on the one hand, and Yvonne, on
 8                 the other hand. These RFPs will shed light on the corporate separateness of Crestlloyd and
 9                 other entities owned or controlled by the Niamis, as well as the investigation into tracing
10                 of funds that were spent by Crestlloyd.
11             •   RFP No. 127 seeks communications between the Niamis relating to Debtor, the Property,
12                 and the properties pledged as security for Yogi’s $30 million note.
13             •   RFP Nos. 128-129 seek communications between Yvonne or Crestlloyd, on the one hand,
14                 and Joseph Englanoff or his entities, on the other hand, which documents should shed light
15                 at minimum on Yogi’s understanding of its own lien priority against the Property.
16             •   RFP Nos. 131-132 seek communications between Yvonne and Yogi relating to loans by
17                 Hankey and the timing of recording any deed of trust against the Property, which is also
18                 relevant to Yogi’s understanding of its own lien priority against the Property.
19         In short, all these RFPs seek documents about factual and legal issues relevant to Hankey’s claims
20 and defenses in the adversary proceeding where Yvonne is not only a defaulted party, but the principal of
21 the Debtor and of several other entities whose property and conduct are relevant to determining key factual

22 disputes. And given the minimal production of documents from Crestlloyd, the Niamis may be the best

23 or only source of many of these documents. Yvonne waived all objections to the RFPs and should be

24 compelled to respond to each RFP and produce responsive documents without objection.

25             C. Yvonne Should Be Ordered to Reimburse Hankey’s Fees and Costs Incurred in
26                 Bringing this Motion
27         In addition to being ordered to produce documents without objection, Yvonne should be ordered
28 to reimburse Hankey for the fees and costs incurred in bringing this Motion. Federal Rule of Civil

                                               8
       HANKEY’S MOTION TO COMPEL RESPONSES TO SUBPOENA TO PRODUCE DOCUMENTS TO YVONNE
                               NIAMI AND REQUEST FOR SANCTIONS
     Case 2:22-ap-01125-DS         Doc 331 Filed 07/15/25 Entered 07/15/25 17:22:41               Desc
                                    Main Document    Page 9 of 11


 1 Procedure 37(a)(5)(A), as made applicable by Federal Rule of Bankruptcy Procedure 7037, provides that

 2 the Court “must, after giving an opportunity to be heard, require the party or deponent whose conduct

 3 necessitated the motion, the party or attorney advising that conduct, or both to pay the movant's reasonable

 4 expenses incurred in making the motion, including attorney's fees.” Yvonne provided no response to

 5 Hankey’s Subpoena—conduct that is in no way justified and that has forced Hankey to bring this Motion

 6 in the face of Yvonne’s silence. There is no possible justification for Yvonne’s outright refusal to respond

 7 to discovery, and she should be ordered to reimburse Hankey’s fees and costs incurred in bringing the

 8 instant Motion, in the amount of $12,600. (Steinberg Decl. ¶¶ 7-10.)

 9      IV.      CONCLUSION
10            For the foregoing reasons, the Court should find that Yvonne’s failure to respond to the properly
11 tailored Subpoena served on her resulted in a waiver of all objections, compel Yvonne to produce written

12 responses and documents immediately without objection, and order Yvonne to pay the fees and costs

13 Hankey incurred in the bringing of the instant Motion to obtain compliance with Yvonne’s discovery

14 obligations.

15

16 DATED: July 15, 2025                             GREENBERG TRAURIG, LLP
17

18                                             By    /s/ Howard J. Steinberg
                                                    Howard J. Steinberg
19                                                  Attorneys for Defendant and Cross-Claimant
                                                    Hankey Capital, LLC
20
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                                               9
       HANKEY’S MOTION TO COMPEL RESPONSES TO SUBPOENA TO PRODUCE DOCUMENTS TO YVONNE
                               NIAMI AND REQUEST FOR SANCTIONS
       Case 2:22-ap-01125-DS                   Doc 331 Filed 07/15/25 Entered 07/15/25 17:22:41                                      Desc
                                               Main Document     Page 10 of 11



                                      PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
Greenberg Traurig LLP, 1840 Century Park East, Suite 1900, Los Angeles, CA 90067

A true and correct copy of the foregoing document entitled (specify): NOTICE OF MOTION AND MOTION OF
HANKEY CAPITAL, LLC TO COMPEL RESPONSES TO SUBPOENA TO PRODUCE
DOCUMENTS TO YVONNE NIAMI AND REQUEST FOR SANCTIONS; MEMORANDUM OF
POINTS AND AUTHORITIES IN SUPPORT will be served or was served (a) on the judge in chambers in the
form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
07/15/2025, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

Kyra E Andrassy kandrassy@raineslaw.com, bclark@raineslaw.com;csantiago@raineslaw.com
Todd M Arnold tma@lnbyg.com
Ryan Coy ryan.coy@saul.com, hannah.richmond@saul.com; Shelly.Guise@saul.com; LitigationDocketing@saul.com
;ryan.coy@ecf.courtdrive.com
Max Fabricant mfabricant@lavelysinger.com
Thomas M Geher tmg@jmbm.com, bt@jmbm.com;tmg@ecf.courtdrive.com
David B Golubchik dbg@lnbyg.com, dbg@lnbyg.com
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6096@ecf.pacerpro.com
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Jessica Wellington jwellington@bg.law, ecf@bg.law
Johnny White JWhite@wrslawyers.com, jlee@wrslawyers.com

2. SERVED BY UNITED STATES MAIL:
On (date)     , I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
be completed no later than 24 hours after the document is filed.

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _____, I served the following
persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service
method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal
delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.
                                                                            Service information continued on attached page




         This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                        F 9013-3.1.PROOF.SERVICE
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        Case 2:22-ap-01125-DS                  Doc 331 Filed 07/15/25 Entered 07/15/25 17:22:41                                      Desc
                                               Main Document     Page 11 of 11


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


 07/15/2025                    Terrine Pearsall                                              /s/ Terrine Pearsall
 Date                        Printed Name                                                    Signature




         This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                        F 9013-3.1.PROOF.SERVICE
ACTIVE 705722580v1
